                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

 UNITED STATES OF AMERICA,                          )
                  Plaintiff,                        )
                                                    )
 vs.                                                )    CASE NO. DNCW3:97CR294-17-
                                                    )    MU
 AMY GRIGG GRANT                                    )    (Financial Litigation Unit)
                Defendant,                          )
                                                    )
 and                                                )
                                                    )
 THE ORIGINAL PANKCAKE HOUSE, OPH                   )
 FACTORY,                                           )
                 Garnishee.

              DISMISSAL OF ORDER OF CONTINUING GARNISHMENT

       THIS MATTER is before the Court on Motion by the United States of America that the

Court order the dismissal of the Order of Continuing Garnishment filed on October 25, 2011

(Docket No. 554) against Defendant Amy Grigg Grant because she has resigned from employment

as of February 24, 2014.   For the reasons stated therein, the Motion is GRANTED.

       SO ORDERED.

                                  Signed: May 19, 2015




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